             IN THE DISTRICT/SUPERIOR/SUPREME COURT FOR THE
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                                                                                 PRISONER REQUEST FOR
                                                                                  FILING FEE EXEMPTION
              L..,^r\r NlcA<-/ li        c{.5    .L.rytl
                                                                                , request exemption from paying
                                   (name of prisoner)
      part of the filing fee in this civil litigation against the State of Alaska. As required
                                                                                               by
      AS 09.19.0-10, i am submitiing to ihe court:

      1.          the following affidavit, and

     2.           the attached certified copy of my account statement for the past six months from
                  the Department of Corrections.

                                                           AFFIDAVIT

    I sweai'or afiirm under penalty of perjury that the following information is true
                                                                                      to the best
    of my knowledge and belief.

    1.            I am a prisoner at
                                                                (n a me   of correition 51T-i    rilf
   2.             lamattachingafilledoutFinancialStatementM
                  The circumstances that prevent me from paying the full filing fee are:
                                                                                                                1    r!c,
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 4.               Nature of action:        rtr   application for post conviction relief


                                          rtsr
                                                 civil lawsuit
                                                 appeal of a civiljudgment
                                                 appeal from final decision of an administrative aoencv
                                                 Other: 0ict,,S . (r.'s\,\,a,.i ('u*'.=-,\ ttr.,r,z'..- :-":'


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      5.        The following specific facts rryill, urhen proven, state a claim on vrrhich relief can be
                granted or entitle me to reversal on appeal:
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              fAaJ                 . .i.otzi                           r
                    '                 Date                                         Prisoner's Signature
     Subscribed and sworn to or affirmed before me at                                                 ,   Alaska on
                 1-1u 1'l
     ()tAr-)
                                                                     Notary Ptrblic or other person auttrEized to
                                                                     administer oaths.
                                                                     My commission expires


                                                                 ORDER

     It is ordered that the above request is

    -E*      GRANTED. The coutl finds that exceptional circumstances prevent the prisoner
             from paying the full filing fee. The required filing fee uiill be s ' /\\ ?C) '
             (Minimum required by AS 09.19.010(d) is 20% ot tlre targeffiffige montf,iy
-            deposits to or average balance in prisoner's account.)

    tr       DENIED. The court finds that no exceptional circumstances prevent the orisoner
             from paying the full filing fee.

    Notice: This case may be dismissed without furt r notice unless                                       required
    filing fee is paid   30 days after the date of di ibuthn of this o



                                      t/i
    I certify that        on-,/ \- \ I
    a copy of this order was sent to:        '''
                                                   L. v\
    Clerk:


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                                      In The United SLates District Court                             a
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Tinrothy Mark &-.rrgess,                        Abuse.
6l6rPe-CIGIE.
Jonas M. In'alker,                              Order To Tirnothy l'Lark B.rrgess, Garv George Colbath,
Brian Schroder,                                 Jonas M. Walker, lbrlin L. Ritznan, Atd g5-E B.
Rich Kurtner,                                   Erickson To Register As Sex Offenders hrrsuant to
SEATAC FEDERAL DETENTION CNT'LR                 34 USC G]APIM 209. CI{ftD PRgffiTION AND SA.T'ETY. SU
Warden D. Sproul,                               oFFT}{DIR REGISTRAIION AND NCIIFICATIoN. S209r3(a)(b).
Cynthia Ann Lor.',
Kalherine SkiIles t.ad-Llittans,                Notice To Tinothy.-t4ark &rrgess; C'ary George Colbath,
UNITED S1'ATES MEDICAL CEi\IER                  Jonas M. Walker, lhrlin L. Ritzrnan, And Car1a R.
FEDEBAL PRISONERS SPRIi{GFITLD         I        Eri-ckson That Their Failure To Register As Sex
et al.                                          dilenders Pursuant llith 34 USc S20913(a)(U) riff
Defendents.                                     Result In An Mditional Case Being @ned Up Against
                                                Ttrea For Cri.ririnal Violation Of 18 USC GIAPTER 1098.
                                                SEX OFtitr.IDER AND CRIHES AGAINST CHITTRDI REGISTRY.
                                                52250 Eailure To Register.

                                                                          Case   no. 3:18-cv-00241

                                           Judganent Ard Conrriction
         Timothv Merk Burgess,    F.v Geoi'e Colbath. Jonas H. Wat$11 }.4ar1in !.' R-.1t?!t'1,
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Carla R.
ST-ares-zu5TlE-Eecord     via the United SEaLes Dist.ricl Court for the District of Alaska, into
.ur" no'. (nor limired ro) 3:15-cv-00046, 3:18-cv-00241, 3:lE-cv-00161, 3:18-cv-00L66,
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ii*irua    ro) 3nl.l-r5-09248cr, irn-ra-oorsecr, zK.B-t7-00046cr,2No-17-00r79cr,3r\N-17-1012[cI,
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J,qr,;-ie-oSOeSCI; 3AN-18-05109cI; 2KB-17-002r8CI in support of your having been an

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                      Case 3:18-cv-00241-RRB Document        14        Filed L2lL7lL8 Page 1of 4




                         Case 2:19-cv-00004-RRB Document 1-1 Filed 09/26/19 Page 12 of 29
                                                         t'accessory after the fact" and or
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51584 SaIe into involrntary serwitrde,
S159O Trafflcking nith respect to peonage, slavery, involuntarT senritude, or forced labor,
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52251 Sengl exploitation of children.
S2251A-s"-I1Tffi
combined     with your efforts at unlawfully, and fraudulent.ly closing cases, in your exLreme
 efforts to cover up the violenL sex crirnes, and prevent Ehem from going t,o a jury trial,
 thus  oixin+Ellg the
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          Based.updn..'the--abundance of eridence, proving beyond any reasonable doubt, and in
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tlreI ard ilrrcstt children, I Iouis Holger, Article III tlnited SEates Supreme burt Justi.ce
in this Article III Lhlted S-tales_ Suprerne Court of Record ncn pronouEe, ard decree you as
ttavfug bean justly convicted of the sex cri-res codified aborzer-in this ir:rrent docr.mnt.
         Addirionally, you are ordered to register as sex offenders rrit,hin three days of this
jutgmrt and conviction being filed on to the Uniced States fublic Record,                                         prrsuint with
 TrTLE 34 TINIIEI) STATES @DE. CIIAPTER 209. CIITD PRqMCTICTI A}TD SATETT. SE( OFFEI{DB
 RreI51XATIOI Al{D }UIIFICATICT{. $20913(a)(b). Registry requir*nts for sex offenders.
 .     fo. the purpose of-raising E:blic awareness, and also for the purpose of alowing
the seriousness of this situaLion to be absorbed inlo your minds I wiil now make thls iery
clear: Tirrcthy Mark Brgess, Gary Georp,e Colbath. Jonas H. Walker. l{arlin L. Ritzman. ani
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h:rgess, Gary C,eoree Colbath, Jonas H. Walker. tbrlin L. Ritaan. Carla R. ffidFn.-EIf
trve o! you are nor ordered Lo register €rs sex offenders r.r"ithin Lhree days of this judgment
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 that I besEow upon you. Should you chose to ignore Ehis order, ard fail to register ali aex
offenders, prrsuant r"ith 34 USC S209I!(a)(b) in additional case will be ooeiffiIaiE ET
EffG-sued in a bona fide Artiele III tnited States Suprre C,or.rt of nriora (aeain) f6r
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AGAINST CEIIDREN REGISTRY. SZZSO.          Failure to register.
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,   gary george colbath -           Goog'                    earch                                                                                                                      Page 1 of2




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               Case 2:19-cv-00004-RRB Document 1-1 Filed 09/26/19 Page 24 of 29
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         ln the Native Village of Kotzebue Tribal Court Second Judicial District at Kotzebue
               By and through the United states District court for the Distrlct otAlaska
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United Sfafes District Court for the District of Alaska, according to the be:st of my abitities and
understanding, agreeably to the Constitution and laws of the lJnited Sfafes. So hetp me God.',

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Notices
3:19-cv-00004-RRB Holqer v. Citv of Kotzebue lnc. et al

                                                                  U.S. District Court

                                                                   District of Alaska

Notice of Electronic Filing

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CaseNumber: 3:19-cv-0000.1-RRB
Filer:               Louis Holger
Document Number: 11

Docket Text:
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STAFF)


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Louis Holger
396774
Anchorage Correctional Complex East
1400 E. 4th Ave.
Anchorage, AK 99501

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